 Case 2:22-cv-11402-TGB ECF No. 7, PageID.340 Filed 09/23/22 Page 1 of 32




              UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF MICHIGAN SOUTHERN DIVISION

In Re: Neo Wireless, LLC,                    Case No. 2:22-md-03034-TGB
Patent Litigation
                                                 Hon. Terrence G. Berg

Neo Wireless, LLC, v.                              2:22-CV-11402-TGB
Ford Motor Company
Neo Wireless, LLC, v.                              2:22-CV-11403-TGB
American Honda Motor Co., Inc., et al.

Neo Wireless, LLC, v.                              2:22-CV-11404-TGB
Volkswagen Group of America, Inc. et
al.

Neo Wireless, LLC, v.                              2:22-CV-11405-TGB
Nissan North America Inc. et al.

Neo Wireless, LLC, v.                              2:22-CV-11406-TGB
Toyota Motor Corporation et al.

Neo Wireless, LLC, v.                              2:22-CV-11407-TGB
General Motors Company et al.

Neo Wireless, LLC, v.                              2:22-CV-11408-TGB
Tesla Inc.

Neo Wireless, LLC, v.                              2:22-CV-11769-TGB
Mercedes-Benz USA, LLC

Neo Wireless, LLC, v.                              2:22-CV-11770-TGB
FCA US LLC


  JOINT RULE 26 REPORT AND PROPOSED SCHEDULING ORDER



                                         1
     Case 2:22-cv-11402-TGB ECF No. 7, PageID.341 Filed 09/23/22 Page 2 of 32




         Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, the parties to

this case, by and through their respective counsel, jointly submit this Rule 26(f)

Report and Proposed Scheduling Order:

                                                         The Parties’ Joint Proposal
    Initial Disclosures                              Wednesday, September 14, 2022
    Fact Discovery Commences                         Wednesday, August 10, 2022
    Infringement Contentions 1                       Wednesday, September 28, 2022
    Invalidity Contentions                           Wednesday Nov. 16, 2022
    Deadline to Amend Pleadings and Add              Friday, December 16, 2022
    Parties
    Contact Technical Advisor to Schedule            TBD
    Settlement Conference (Court)
    Initial Identification of Disputed Claim         Thursday, December 1, 2022
    Terms
    Exchange Proposed Interpretations of             Wednesday, December 15, 2022
    Disputed Claim Terms
    Final Identification of Disputed Claim           Wednesday, January 18, 2023
    Terms
    Informal Technology Tutorial (Court)             TBD
    Plaintiff’s Opening Claim Construction           Thursday, February 16, 2023
    Briefs
    Defendant’s Responsive Claim                     Thursday, March 16, 2023
    Construction Brief
    Plaintiff’s Reply Claim Construction             Thursday, March 30, 2023
    Brief
    Claim Construction Hearing (Court) (2-3          TBD
    months from deadline of Plaintiff’s Reply
    Claim Construction Brief)



1
  The Parties agree to address all non-burden contentions (e.g., non-infringement contentions)
through traditional discovery requests. The parties further agree that they may jointly modify the
schedule upon agreement of all parties to the extent such modifications do not impact the timing
for filing of claim construction briefs; claim construction hearing; or dispositive motion
deadlines. Modification to the timing for filing of claim construction briefs; claim construction
hearing; or dispositive motion deadlines shall require an order of the Court.


                                                2
      Case 2:22-cv-11402-TGB ECF No. 7, PageID.342 Filed 09/23/22 Page 3 of 32




                                                   The Parties’ Joint Proposal
 Deadline for Parties to Amend                  1 Month after Markman Order
 Contentions
 Fact Discovery Closes                          10 Weeks after Markman Order
 Expert Reports on Infringement                 14 Weeks after Markman Order
 (Plaintiff), Invalidity (Defendant), and
 Damages (Plaintiff)
 Rebuttal Expert Reports                        18 Weeks After Markman Order
 Expert Discovery Deadline                      22 Weeks after Markman Order
 Dispositive Motion Deadline                    26 Weeks after Markman Order
 Oppositions to dispositive motions             21 days from filing
 Replies to dispositive motions                 14 days from oppositions
I.       RULE 26(f) CONFERENCE
         Pursuant to Rule 26(f), the parties held an initial meeting on August 10, 2022,

which was attended by attorneys from all parties as set forth in the signature blocks

below.

II.      DISCOVERY PLAN

         The discovery in this case is limited to the disclosures described in the

following paragraphs. Where a limit is defined by Defendant that limit shall apply

to a group of legally affiliated Defendants.

               a.     Interrogatories. Plaintiff may serve up to 25 interrogatories on

                      each Defendant. Defendants may serve 15 joint interrogatories

                      on Plaintiff, and each party Defendant may serve 10

                      individualized interrogatories on Plaintiff. Individualized

                      interrogatories may not be used by Defendants to indirectly

                      increase the number of joint interrogatories.


                                            3
Case 2:22-cv-11402-TGB ECF No. 7, PageID.343 Filed 09/23/22 Page 4 of 32




         b.    Requests for Admission. Plaintiff may serve up to 40 requests

               for admission on each party Defendant. Defendants shall serve

               20 joint requests for admission on Plaintiff, and each party

               Defendant may serve 20 individualized requests for admission

               on Plaintiff. This limit does not apply to requests for admission

               that seek an admission as to the authenticity of a document or

               thing. Such requests for admission as to authenticity will be

               unlimited, clearly denoted as such, and served separately from

               other requests for admission. Individualized requests for

               admission may not be used by Defendants to indirectly increase

               the number of joint requests.

         c.    Depositions.

              i.     Party Witnesses: Plaintiff may take up to 70 hours of

                     30(b)(1) or 30(b)(6) depositions from each party

                     Defendant. Defendants may collectively take 100 hours of

                     30(b)(1)   or   30(b)(6)   depositions    from    Plaintiff.

                     Defendants must take all reasonable efforts to avoid

                     duplicative questioning against Plaintiff’s witnesses.

                     Notwithstanding the foregoing, the deposition of any

                     single fact witness will be limited to 7 hours unless that



                                     4
Case 2:22-cv-11402-TGB ECF No. 7, PageID.344 Filed 09/23/22 Page 5 of 32




                     witness is cross-noticed in multiple cases, then the

                     deposition will be limited to 7 hours plus an additional 2

                     hours per additional case for which the witness was cross-

                     noticed up to a maximum of 14 hours. If either side

                     believes that additional time with a particular witness is

                     necessary, the parties shall meet and confer in good faith

                     in order to reach an agreement.

             ii.     Third Party Witnesses: The deposition of any single

                     third-party witness will be limited to 7 hours absent leave

                     of Court or written agreement of the parties and the

                     witness or designating entity.

            iii.     Expert Witnesses: No more than 7 hours of expert

                     witness deposition testimony may be taken by each side

                     for each disclosed expert witness who provides a report,

                     except that if such a witness submits testimony in multiple

                     reports (e.g., infringement and validity or multiple

                     infringement reports), submits an infringement or non-

                     infringement report for more than one defendant party

                     (e.g., alleging infringement or non-infringement by

                     multiple defendant groups), or submits a report that



                                    5
   Case 2:22-cv-11402-TGB ECF No. 7, PageID.345 Filed 09/23/22 Page 6 of 32




                           responds to multiple reports, the limit will be 7 hours plus

                           4 hours for each additional report and 2 hours per

                           additional infringement defendant, up to a maximum of 18

                           hours.

                  iv.      Interpreters and Translators: Any deposition requiring

                           the use of an interpreter or translator may be up to 10.5

                           hours (subject to the parties’ agreements in Sections 2(c)

                           i-iii) such that a 7 hour deposition under Federal Rule of

                           Civil Procedure 30(d)(1) would instead be limited to 10.5

                           hours. A deposition using a translator counts for 2/3 time

                           in relation to limits, such that a 10.5 hour deposition would

                           be counted as 7 hours of time. The deposition can be split

                           over two days at the election of the producing party or

                           producing non-party.

III.   SUBJECTS AND NATURE OF DISCOVERY

             A.     DISCOVERY BY PLAINTIFF

       Plaintiff anticipates seeking discovery on at least the following topics: (1) the

structure, function, and operation of the accused products; (2) the development of

the allegedly infringing features; (3) the importance of those features to the operation

and performance of the accused products; (4) issues relating to damages, including



                                           6
   Case 2:22-cv-11402-TGB ECF No. 7, PageID.346 Filed 09/23/22 Page 7 of 32




the importance of the patented features to Defendants’ customers and Defendant’s

sales and profits realized for the accused products and any ancillary sales made as a

result of the accused products; (5) the factual basis for Defendants’ defenses; (6)

claim construction of the patents-in-suit; (7) Defendants’ knowledge of the patents-

in-suit and efforts to avoid infringement; and (8) factual basis of Defendants’ beliefs

that the patents-in-suit are invalid or not infringed. Plaintiff further anticipates taking

discovery from third parties, including third-party carriers and third-party

manufacturers of components incorporated into the accused products.

             B.     DISCOVERY BY DEFENDANT

      Defendants anticipate seeking discovery on at least the following topics: (1)

the factual basis for Plaintiff’s allegations, including infringement, willful

infringement, validity, and damages; (2) the patents-in-suit and the prosecution

history of the patents-in-suit and related patents, including records created during

inter partes review proceedings involving the patents-in-suit and any related patents;

(3) the conception, reduction to practice, research, development, and use of the

alleged inventions claimed in the patents-in-suit; (4) the prior art to the asserted

patents; (5) the ownership of the patents-in-suit; (6) the implementation (if any) of

the patents-in-suit in the LTE standard or 5G standard; (7) compliance with and/or

agreements pertaining to commitment(s) to license the asserted patents on fair,

reasonable, and non-discriminatory terms; (8) communications and agreements



                                            7
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.347 Filed 09/23/22 Page 8 of 32




between Neo (and any predecessors) and third parties regarding the patents-in-suit,

including settlement agreements; (9) pleadings, documents, discovery, and

transcripts from other proceedings involving the asserted patents or related patents,

and (10) any valuation of the patents-in-suit.

             C.    ELECTRONICALLY STORED INFORMATION

      The parties agree to take reasonable steps to preserve potentially relevant ESI.

A party’s meaningful compliance with this Order and efforts to promote efficiency

and reduce costs will be considered in cost-shifting determinations.

      Absent agreement of the parties or further order of this Court, the following

parameters shall apply to ESI production:

             a.    General Document Image Format. Each electronic document

                   shall be produced in single-page Tagged Image File Format

                   (“TIFF”) format, where possible. For example, it is understood

                   that TIFF formatting may in some instances only be possible for

                   black and white images and not color images. TIFF files shall be

                   single page and shall be named with a unique production number

                   followed by the appropriate file extension, where possible. Load

                   files shall be provided to indicate the location and unitization of

                   the TIFF files. If a document is more than one page, the

                   unitization of the document and any attachments and/or affixed



                                          8
Case 2:22-cv-11402-TGB ECF No. 7, PageID.348 Filed 09/23/22 Page 9 of 32




               notes shall be maintained as they existed in the original

               document.

         b.    Text-Searchable Documents. The parties will provide

               document-level searchable text for all produced documents.

               Electronically extracted text shall be provided if available for all

               documents collected from electronic sources. Text generated via

               Optical Character Recognition (“OCR”) shall be provided for

               documents originally maintained in hard copy, redacted

               documents, and electronic documents that do not contain

               electronically extractable text (e.g. non-searchable PDF

               documents and image files).

         c.    Footer. Each document image shall contain a footer with a

               sequentially ascending production number.

         d.    Native Files. A party that receives a document produced in a

               format specified above may make a reasonable request to receive

               the document in its native format, and upon receipt of such a

               request, the producing party shall produce the document in its

               native format. The parties agree that .xls and .csv files will not

               be converted to another format and instead will be produced




                                      9
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.349 Filed 09/23/22 Page 10 of 32




                    natively without a specific request for native production, absent

                    good cause to produce in another format.

             e.     No Backup Restoration Required. Absent a showing of good

                    cause, no party need restore any form of media upon which

                    backup data is maintained in a party’s normal or allowed

                    processes, including but not limited to backup tapes, disks, SAN,

                    and other forms of media, to comply with its discovery

                    obligations in the present case.

             f.     Load Files. Metadata load files will contain the applicable fields

                    listed in Exhibit A, if available based on reasonable collection

                    efforts.

      A party is only required to produce a single copy of a responsive document

and a party may de-duplicate identical responsive ESI (based on MD5 or SHA-1

hash values at the family level) across custodians. To the extent that de-duplication

through MD5 or SHA-1 hash values is not possible, or to the extent that population

of the above fields is not possible or practicable, the parties shall meet and confer to

discuss any other proposed method of de-duplication.

      Email Discovery: Normal ESI discovery shall not include discovery of e-mail

records. E-mail discovery shall initially be limited to dedicated searches of two

custodians per party, according to the framework set forth below. Beyond that, no



                                          10
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.350 Filed 09/23/22 Page 11 of 32




further e-mail discovery shall be permitted absent agreement of the parties, or a

showing of good cause and order of the court. To the extent a party believes

additional e-mail discovery is necessary, the parties shall meet and confer at that

point regarding the need for and the least burdensome method of obtaining those

additional e-mail records. By way of example, good cause for additional e-mail

discovery will exist where a party selectively produces or intends to rely on e-mails

that were not captured by the opposing side’s initial e-mail production requests

(“cherry picking”), thus entitling the opposing side to collect any additional relevant

emails from that custodian.

      The parties’ initial e-mail production requests shall be phased to occur timely

after the parties have exchanged initial disclosures, a specific identification of the

most significant e-mail custodians in view of the pleaded claims and defenses,

infringement contentions and accompanying documents, invalidity contentions and

accompanying documents, and preliminary information relevant to damages

(including but not limited to a party’s likely 30(b)(6) designees). The exchange of

this information shall occur at the time required under the Federal Rules of Civil

Procedure, Local Rules, or by order of the court.

      E-mail production requests shall identify the custodian, search terms, and time

frame. The parties shall cooperate to identify the proper custodians, proper search

terms, and proper time frame. Each side shall limit its initial e-mail production



                                          11
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.351 Filed 09/23/22 Page 12 of 32




requests to a total of two custodians per party for all such requests. (In other words,

Plaintiff may choose two custodians per Defendant group, and Defendants may

collectively choose two custodians for Plaintiff.)

      Upon receipt of an email request identifying a custodian, the producing party

may either use search terms, or use targeted collections and custodial interviews to

locate responsive materials, in either case in a good faith effort to locate all ESI

responsive to any document request served by the opposing side, and the producing

party shall disclose the search terms or method of collection to the requesting party.

After production of the responsive ESI via either method, the requesting side may

propose a total of four additional search terms per custodian per producing party.

The search terms shall be narrowly tailored to particular issues. Indiscriminate terms,

such as the producing company’s name or its product name, are inappropriate unless

combined with narrowing search criteria that sufficiently reduce the risk of

overproduction. A conjunctive combination of multiple words or phrases (e.g.,

“computer” and “system”) narrows the search and shall count as a single search term.

A disjunctive combination of multiple words or phrases (e.g., “computer” or

“system”) broadens the search, and thus each word or phrase shall count as a separate

search term unless they are variants of the same word or translations of the same

word. Use of narrowing search criteria (e.g., “and,” “but not,” “w/x”) is encouraged




                                          12
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.352 Filed 09/23/22 Page 13 of 32




to limit the production and shall be considered when determining whether to shift

costs for disproportionate discovery.

      The parties agree to negotiate regarding e-mail production requests in good

faith. To this end, the producing party shall provide ESI Search Reports (to the

extent applicable) identifying the number of hits per search term, the custodians run

against each set of terms, date ranges for the searches, and the actual terms used to

the extent they differ from the e-mail production request due to a party’s technical

capability.

      To the extent that a party produces documents written in a language other than

English, that party shall also produce any English translations (whether certified,

machine, or informal) that are in its care, custody, or control.

      Privilege Logs: The Parties will exchange privilege logs at a date to be agreed

upon later, once document productions are substantially complete. Privileged or

work-product protected communications that post-date the filing of the complaint in

this litigation, involve counsel, and directly concern this litigation or inter partes

reviews involving the asserted patents need not be identified on a privilege log.

Similarly, privileged or work-product protected communications from prior

litigation involving the patents-in-suit need not be identified on a privilege log. A

party need include only one entry on the log (including the names of all of the

recipients of the communications) to identify withheld emails that constitute an



                                          13
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.353 Filed 09/23/22 Page 14 of 32




uninterrupted dialogue between or among individuals, provided that all participants

to any portion of such dialogue shall be included in the log entry if the log entry

reflects more than one email. The parties shall also log any redacted documents and

identify those document(s) by Bates number in the respective log entry(ies).

      Pursuant to Federal Rule of Evidence 502(d), the inadvertent production of

privileged or work product protected ESI is not a waiver in the pending case or in

any other federal or state proceeding. The receiving party shall not use ESI that the

producing party asserts is attorney-client privileged or work product protected to

challenge the privilege or protection. The mere production of ESI in a litigation as

part of a mass production shall not itself constitute a waiver for any purpose. The

foregoing provisions do not otherwise modify the treatment of inadvertently

produced material under the agreed Protective Order.

IV.   DISCOVERY SCHEDULE

             A.    FACT DISCOVERY

      Fact discovery commenced on August 10, 2022. All written discovery

requests shall be served no later than 30 days prior to the close of fact discovery.

Discovery shall include any relevant opinions of counsel if Defendants intend to rely

upon an opinion of counsel as a defense to a claim of willful infringement.




                                         14
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.354 Filed 09/23/22 Page 15 of 32




             B.    RULE 26(a)(1) INITIAL DISCLOSURES

      The parties exchanged the initial discovery disclosures required by Rule

26(a)(1) by September 14, 2022.

             C.    DEADLINE TO ADD PARTIES

      The deadline for adding parties is December 16, 2022. The deadline for

amending the pleadings is December 16, 2022.

             D.    DISCLOSURE OF INFRINGEMENT CONTENTIONS

      The patentee must file and serve disclosures of and an initial document

production that identifies, as specifically as possible, the following information by

September 28, 2022:

         a. Each patent claim that is allegedly infringed by each opposing party.

         b. For each asserted claim, the accused product of each opposing party of

             which the patentee is aware. This identification shall be as specific as

             possible. Plaintiff shall identify each accused product by name or

             model number, if known.

         c. A chart identifying specifically where each limitation of each asserted

             patent claim is found within each accused product, including for each

             limitation that such party contends is governed by 35 U.S.C. § 112 ¶ 6,

             the identity of the structure(s), act(s), or material(s) in the accused

             product that performs the claimed function. If the patentee alleges the



                                         15
Case 2:22-cv-11402-TGB ECF No. 7, PageID.355 Filed 09/23/22 Page 16 of 32




         patent is standard essential, plaintiff must provide a chart identifying

         for each limitation of each asserted patent claim specifically which

         standard the patent is essential to, including which version(s) and

         explain how the claims are mandatory to the standard.

      d. Whether each claim limitation of each asserted claim is claimed to be

         literally present or present under the doctrine of equivalents in the

         accused product. For any claim under the doctrine of equivalents, the

         contentions must include an explanation of each function, way, and

         result that is equivalent and why any difference are not substantial.

      e. For each claim that is alleged to be indirectly infringed, an

         identification of any direct infringement and a description of the acts of

         the alleged indirect infringer that contribute to or are inducing that

         direct infringement. If alleged direct infringement is based on joint acts

         of multiple parties, the role of each such party in the direct infringement

         must be described;

      f. for any patent that claims priority to an earlier application, the priority

         date to which each asserted claim allegedly is entitled;

      g. identification of the basis for any allegation of willful infringement;

      h. if a party claiming patent infringement wishes to preserve the right to

         rely, for any purpose, on the assertion that its own or its licensee’s



                                      16
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.356 Filed 09/23/22 Page 17 of 32




             apparatus,   product,    device,    process,   method,     act,   or   other

             instrumentality practices the claimed invention, the party must identify,

             separately for each asserted patent, each such apparatus, product,

             device, process, method, act, or other instrumentality that incorporates

             or reflects that particular claim, including whether it is marked (actually

             or virtually) with the patent number; and

         i. Production of a complete copy of the file histories for the patents-in-

             suit, including related patents claiming priority from either the patents-

             in-suit or their parents, foreign equivalents and their file histories.

             E.    DISCLOSURE OF INVALIDITY CONTENTIONS

      Any party asserting invalidity or unenforceability claims/defenses must file

and serve disclosures and initial document production containing the following by

November 16, 2022. Defendants will file and serve all disclosures jointly to the

extent possible.

             a.    Each item of prior art that forms the basis for any allegation of

                   invalidity by reason of anticipation under 35 U.S.C. § 102 or

                   obviousness under 35 U.S.C. § 103. For prior art that is a

                   document, a copy of the document should be provided to the

                   patentee’s counsel or be identified by Bates Number if it was

                   previously produced. As to prior art that is not documentary in



                                           17
Case 2:22-cv-11402-TGB ECF No. 7, PageID.357 Filed 09/23/22 Page 18 of 32




               nature, such prior art shall be identified with particularity (by

               “who, what, when, and where” etc.) as to publication date, sale

               date, use date, source, ownership, inventorship, conception and

               any other pertinent information.

         b.    Each prior art patent shall be identified by its number, country of

               origin, date of issue. Each prior art publication must be identified

               by its title, date of publication, and where feasible, author and

               publisher. Prior art sales or public disclosures under pre-AIA 35

               U.S.C. § 102(b) / post-AIA 35 U.S.C. § 102(a)(1) shall be

               identified by specifying the item offered for sale or publicly used

               or the information known, the date the offer or use took place or

               the information became known, and the identity of the person or

               entity which made the use or which made and received the offer,

               or the person or entity which made the information known or to

               whom it was made known. Prior art under pre-AIA 35 U.S.C. §

               102(f) shall be identified by providing the name of the person(s)

               from whom and the circumstances under which the invention or

               any part of it was derived. Prior art under pre-AIA 35 U.S.C. §

               102(g) shall be identified by providing the identities of the

               person(s) or entities involved in and the circumstances



                                     18
Case 2:22-cv-11402-TGB ECF No. 7, PageID.358 Filed 09/23/22 Page 19 of 32




               surrounding the making of the invention before the patent

               applicant(s). Prior art references under post-AIA 35 U.S.C. §

               102(a)(1) showing that the claimed invention was otherwise

               available to the public shall be identified by specifying the form

               and nature of the reference, the manner in which the reference

               was made public, and the date on which the reference was made

               public.

         c.    Whether each item of prior art anticipates each asserted claim or

               renders it obvious. If a combination of items or prior art makes

               a claim obvious, each such combination, and the reason why a

               person of ordinary skill in the art would combine such items must

               be identified.

         d.    A chart identifying where specifically in each alleged item of

               prior art each limitation of each asserted claim is found,

               including for each claim limitation that such party is governed by

               35 U.S.C. § 112 ¶ 6, the identity of the structure(s), act(s), or

               material(s) in each item of prior art that performs the claimed

               function, and to the extent that the party asserting invalidity is

               relying on a claim of priority, such as to a parent application, a

               PCT application, or a provisional application, the party must



                                    19
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.359 Filed 09/23/22 Page 20 of 32




                   identify all disclosure from the priority application(s) that the

                   party claims supports an earlier disclosure date; and

            e.     For any grounds of invalidity based on 35 U.S.C. § 101, 35

                   U.S.C. § 112, or other defenses, the party asserting the claim or

                   defense shall provide its reasons and evidence why the claims are

                   invalid or the patent unenforceable and make specific reference

                   to relevant portions of the patent specification and/or claims.

                   Such positions shall be made in good faith and not simply pro

                   forma arguments.

            f.     Source code, specifications, schematics, flow charts, artwork,

                   formulas, or other documentation sufficient to show or allow

                   third-party discovery into the operation of any aspects or

                   elements of an Accused Instrumentality identified by the patent

                   claimant in its infringement contentions;

            F.     DEADLINE FOR AMENDING INFRINGEMENT AND
                   INVALIDITY CONTENTIONS

      Each party shall seasonably amend any infringement or invalidity contention

in accordance with Rule 26(e) of the Federal Rules of Civil Procedure upon learning

that the contention is incomplete or incorrect. The parties should conduct timely

discovery so that these contentions can be updated as soon as possible. Any

amendment to a party’s infringement or validity contentions must be timely made

                                        20
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.360 Filed 09/23/22 Page 21 of 32




but in no event later than one month after the Court’s claim construction ruling. The

parties may not amend such contentions later than one month after the Court’s claim

construction ruling. The parties may not amend such contentions after these

deadlines absent good cause and leave of the Court, unless otherwise agreed to in

writing by all parties. Amendments by Defendants will be made jointly.

             G.    SETTLEMENT CONFERENCE

      The parties shall contact the Court’s Technical Advisor to discuss the timing

of having a settlement conference after the issuance of a Markman order.

             H.    CLAIM CONSTRUCTION PROCEEDINGS

      Pursuant to the decision of Markman v. Westview Instruments, Inc., 116 S. Ct.

1384 (1996), the following procedures will be followed for resolution of claim

construction issues in this case. Unless otherwise authorized by the Court, all

exchanges, submissions, briefs, and the like, will be submitted jointly by Defendants.

             a.    INITIAL IDENTIFICATION OF DISPUTED CLAIM TERMS

                   – The parties will exchange lists of what claim terms may need

                   to be interpreted by the Court by December 1, 2022.

             b.    PROPOSED INTERPRETATIONS – On or before December

                   15, 2022, the parties shall exchange, but not file, a chart or table

                   that lists for each disputed claim term the party’s proposed

                   interpretation of the disputed claim term along with citations to



                                         21
Case 2:22-cv-11402-TGB ECF No. 7, PageID.361 Filed 09/23/22 Page 22 of 32




               the intrinsic and extrinsic evidence (e.g., patent, prosecution

               history,   dictionary    definitions,   etc.)   that   supports    its

               interpretation along with a summary of any testimony that is

               expected to be offered to support that interpretation. Defendants

               will jointly submit to Plaintiff their proposed interpretations.

         c.    FINAL IDENTIFICATION OF DISPUTED CLAIM TERMS –

               By January 18, 2023, the parties shall confer again about the

               claim terms in dispute. At or before this meeting, the parties shall

               attempt to narrow and finalize the claim terms that need to be

               interpreted by the Court. If, at any time, the parties determine

               that a claim construction hearing is not necessary, they shall

               notify the Court in a timely matter. The parties shall set forth

               separately the construction of those claim terms on which the

               parties agree.

         d.    TECHNOLOGY TUTORIAL – The Court will hold an informal

               conference with the attorneys on [Parties to leave blank: Case

               Manager will schedule approximately 2 weeks after Final

               Identification of Disputed Claim Terms] at 10:00 a.m. At the

               conference, the attorneys for each side will explain the

               technology at issue in the litigation. The conference will not be



                                       22
Case 2:22-cv-11402-TGB ECF No. 7, PageID.362 Filed 09/23/22 Page 23 of 32




               recorded. At this conference, the parties shall inform the Court

               of how many claim terms they propose that the Court interpret.

               The Court may limit the number of terms that will be interpreted

               at an initial Markman hearing.

         e.    PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF –

               Plaintiff(s) shall file its opening claim construction brief on or

               before February 16, 2023. Plaintiff’s opening claim construction

               brief shall not exceed 25 Pages 14 point font, unless a different

               page limit is set by the Court.

         f.    DEFENDANTS’ RESPONSE BRIEF – Defendant(s) shall

               jointly file a single responsive claim construction brief on or

               before March 16, 2023. Defendants’ joint response claim

               construction brief shall not exceed 25 pages 14 point font, unless

               a different page limit is set by the Court.

         g.    PLAINTIFF’S REPLY BRIEF – To the extent that Plaintiff

               intends to file a reply brief on claim construction issues,

               Plaintiff(s) shall file with the Court and serve on opposing

               counsel its reply brief by March 30, 2023. Plaintiff shall also file

               and serve within this time period a four-column claim

               interpretation chart in the form of Exhibit B. Plaintiff shall also



                                     23
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.363 Filed 09/23/22 Page 24 of 32




                   submit a copy of the final version of the claim chart to the Court

                   in Microsoft Word format via email as a proposed order through

                   the Court’s electronic filing system. The Plaintiff’s reply brief

                   shall not exceed 7 pages 14 point font.

             h.    CLAIM CONSTRUCTION HEARING – The Court will

                   conduct a claim interpretation hearing on [Parties to leave blank:

                   Case Manager will schedule approximately ~ 2-3 months from

                   reply brief deadline]. The Court does not typically hear live

                   testimony at the claim construction hearing. A request for live

                   testimony must be made by written motion.

             M.    EXPERT DISCOVERY

      Each party shall serve expert reports as required by Rule 26(a)(2), on issues

where that party bears the burden of proof, 14 weeks after issuance of a claim

construction order. On issues where a party does not bear the burden of proof,

rebuttal expert reports are due 18 weeks after issuance of a claim construction order.

Expert discovery will close four weeks after service of rebuttal reports.




                                         24
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.364 Filed 09/23/22 Page 25 of 32




              N.   MOTIONS

      All dispositive and Daubert challenge motions shall be filed on or before 26

weeks after the Markman Order. Oppositions to such motions shall be due 21 days

thereafter.



                                             SO ORDERED



Dated: _______________________
      __________________________
                                             The Honorable Terrence G. Berg
                                             United States District Court Judge




                                        25
 Case 2:22-cv-11402-TGB ECF No. 7, PageID.365 Filed 09/23/22 Page 26 of 32




Date: September 23, 2022                 Respectfully submitted,

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                                    26
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                                        27
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                                      28
 Case 2:22-cv-11402-TGB ECF No. 7, PageID.368 Filed 09/23/22 Page 29 of 32




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                                    29
  Case 2:22-cv-11402-TGB ECF No. 7, PageID.369 Filed 09/23/22 Page 30 of 32




& MANUFACTURING OF                                 and Volkswagen Group of America
AMERICA, LLC                                       Chattanooga Operations, Inc.


                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on September 23, 2022, the foregoing document was filed

electronically with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to all attorneys of record.

                                                   /s/ Jason D. Cassady
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                                              30
 Case 2:22-cv-11402-TGB ECF No. 7, PageID.370 Filed 09/23/22 Page 31 of 32




           EXHIBIT A (Subject to Relevant Data Protection Laws)


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                     the ordinary course
FileSize             File size in bytes
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To                   Email TO
Cc                   Email CC
BCC                  Email BCC
Subject              Email Subject
Attachments          Name of attached file(s) as maintained in the ordinary
                     course of business.
DateCreated          File date and time created MM/DD/YYYY HH:MM
                     AM/PM
DateModified         File date and time modified MM/DD/YYYY HH:MM
                     AM/PM
DateSent             Email date and time sent MM/DD/YYYY HH:MM
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DateReceived         Email date received. MM/DD/YYYY
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                                     31
 Case 2:22-cv-11402-TGB ECF No. 7, PageID.371 Filed 09/23/22 Page 32 of 32




                               EXHIBIT B

                  CLAIM INTERPRETATION CHART


 Disputed Claim       Plaintiff’s        Defendant’s         Court’s
     Term             Proposed            Proposed         Construction
                     Construction        Construction
1.   “Term 1”
2.   “Term 2”
3.   “Term 3”
4.   “Term 4”




                                    32
